Case 1:16-cv-06704-PAE-KNF Document 146-3 Filed 12/21/20 Page 1of3

UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK

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ANTOINE ROSS, DECLARATION OF
JAMES G. FRANKIE, ESQ.
Plaintiff,
16CV06704(PAE)(KNF)
- against -
CAPTAIN DION WILLIS,
CORRECTION OFFICER GEORGE #732,
CORRECTION OFFICER GENOVES #17683,
AND THE CITY OF NEW YORK,
Defendants.
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JAMES G. FRANKIE, ESQ., an attorney duly admitted to the practice of law in the State of
New York, hereby declares under penalty of perjury pursuant to 28 U.S.C. §1746 the following
to be true to the best of my knowledge:

1. | am a member of the law firm of Frankie & Gentile, P.C., attorneys for Defendant
Captain Dion Willis in the above-captioned action.

2. | submit this Declaration in support of Defendant Willis’ motion for an Order
pursuant to Fed. R. Civ. P. 56(b) awarding Summary Judgment in Defendant Willis’ favor, and
awarding Defendant Willis such other and further relief as this Court may deem just, equitable
and proper.

3. Attached as Exhibit “A” is a true and correct copy of DOC Operations Order No.

50/88, “Use of Force - Delivery of Prisoners to Court.”
Case 1:16-cv-06704-PAE-KNF Document 146-3 Filed 12/21/20 Page 2 of 3

4. Attached as Exhibit “B” is a true and correct copy of DOC Directive 4510 R-G -
Chemical Agents.

5. Attached as Exhibit “C” is a true and correct copy of DOC Directive 5006 R-C - Use of
Force.

6. Attached as Exhibit “D” is a true and correct copy of New York City Department of
Correction B Form DEF 0089 concerning the DOC Central Operations Desk notification
concerning this incident.

7. Attached as Exhibit “E” is a true and correct copy of excerpts from the deposition of
Captain Latonia Monroe.

8. Attached as Exhibit “F” is a true and correct copy of excerpts from the deposition of
Chief Kenneth Stukes.

9. Attached as Exhibit “G” is a true and correct copy of a Use of Force Witness Report
for Captain Latonia Monroe dated 6/14/16.

10. Attached as Exhibit “H” is a true and correct copy of excerpts from the deposition of
Defendant Dion Willis.

11. Attached as Exhibit “I” is a true and correct copy of excerpts from the deposition of
Plaintiff Antoine Ross.

12. Attached as Exhibit “J” is a true and correct copy of Injury to Inmate Report
concerning Plaintiff's medical examination at the OBCC clinic on June 14, 2016 following the
incident herein. DEF 0121.

13. Attached as Exhibit “K” is a true and correct copy of excerpts from the deposition of

Physician’s Assistant Larry Blackmore.
Case 1:16-cv-06704-PAE-KNF Document 146-3 Filed 12/21/20 Page 3 of 3

14. Attached as Exhibit “L” is a true and correct copy of the New York City Charter, Title
40, Board of Correction, §1-16 Enhanced Supervision Housing.

15. Attached as Exhibit “M” collectively is a true and correct copy of the Investigating
Supervisor’s Report conducted by Captain Reginal Stokes, Tour Commander’s Report with
concurrence by Assistant Deputy Warden Sherma Dunbar, Concurrence by Deputy Warden of
Security Rubin Collins and Concurrence by Warden Carolyn Saunders.

16. Attached as Exhibit “N” is a true and accurate copy of parties “Joint Statement of
Stipulated Facts.”

17. Attached as Exhibit “O” is a true and accurate copy of the parties “Stipulation
Regarding Video Transcript.”

Dated: December 21, 2020
Mineola, New York

Respectfully Submitted,

FRANKIE & GENTILE, P.C.

 

By:

J ES G. FRANKIE

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